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8                                        UNITED STATES DISTRICT COURT

9                                   CENTRAL DISTRICT OF CALIFORNIA

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11     LUIS MARQUEZ,                               )   Case No. CV 19-10812 FMO (MAAx)
                                                   )
12                          Plaintiff,             )
                                                   )
13                   v.                            )   JUDGMENT
                                                   )
14     SHADOWOOD DEVELOPMENT                       )
       COMPANY, et al.,                            )
15                                                 )
                            Defendant.             )
16                                                 )

17            Pursuant to the Court’s Order Re: Motion for Summary Judgment, IT IS ADJUDGED THAT

18     the above-captioned action is dismissed as follows. Plaintiff’s First Cause of Action for Violation

19     of the Americans with Disabilities Act of 1990, 42 U.S.C. §§ 12101, et seq., is dismissed with

20     prejudice. Plaintiff’s Second Cause of Action for Violation of the Unruh Civil Rights Act, Cal. Civ.

21     §§ 51, et seq., is dismissed without prejudice.

22     Dated this 29th day of September, 2021.

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24                                                                          /s/
                                                                     Fernando M. Olguin
25                                                                United States District Judge

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